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     Federal Defender
2
     DANIEL J. BRODERICK, Bar #89424
3    Chief Assistant Federal Defender
     Designated Counsel for Service
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     Sacramento, California 95814
5    Telephone: (916) 498-5700
6    Attorney for Defendant
     EDUARDO ZAZUETA GARCIA
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8
9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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13   UNITED STATES OF AMERICA,       ) NO. CR-S-05-155-LKK
                                     )
14                  Plaintiff,       )
                                     ) ORDER FOLLOWING HEARING
15        v.                         )
                                     )
16   EDUARDO ZAZUETA GARCIA, et al., )
                                     ) Judge: Hon. Lawrence K. Karlton
17                  Defendants.      )
                                     )
18   _______________________________ )
19        This matter was before the court on June 1, 2005 for status
20   hearing.   The government was represented by it's counsel, Mary Grad,
21   Assistant United States Attorney; defendant, Ariel Antonio Gaete-Roig,
22   present with his counsel, Michael Bigelow; defendant, Sergio Gaete,
23   present with Michael Bigelow and Dina Santos on behalf of Shari Rusk;
24   defendant, Feliz Martinez-Ramirez, present with his counsel, Dina
25   Santos; and Rachelle Barbour, Assistant Federal Defender, appearing on
26   behalf of Daniel Broderick.     The Court's interpreter was also present.
27        The parties requested additional time to review discovery and
28   conduct further investigation.
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1          Good cause appearing therefor,
2          IT IS ORDERED that this matter is continued to August 2, 2005 at
3    9:30 a.m. for further Status Conference.
4          IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161 (h)(8)(B)
5    (iv) and Local Code T4, the period from June 1, 2005 to August 2, 2005
6    is excluded from the time computations required by the Speedy Trial Act
7    due to ongoing preparation of counsel.
8    Dated:    June 7, 2005.
9                                        /s/Lawrence K. Karlton
                                         LAWRENCE K. KARLTON
10                                       Senior Judge
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     Order Following Hearing                   2
